        Case 1:09-cv-00570-WS-N Document 16 Filed 01/28/10 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

RBC BANK (USA),                               )
                                              )
       Plaintiff,                             )
                                              )
v.                                            ) CIVIL ACTION 09-0570-WS-N
                                              )
LYNN E. FOWLER,                               )
                                              )
       Defendant.                             )

                                  FINAL JUDGMENT
       In accordance with the Court’s order of January 28, 2010, the plaintiff shall have
and recover from the defendant Lynn E. Fowler the sum of $245,283.52, said sum to
accrue post-judgment interest as provided in 28 U.S.C. § 1961. Pursuant to Federal Rule
of Civil Procedure 58, judgment is hereby entered in favor of plaintiff United States of
America and against defendant Lynn E. Fowler.


       DONE this 28th day of January, 2010.


                                                 s/ WILLIAM H. STEELE
                                                 UNITED STATES DISTRICT JUDGE
